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           In the United States Court of Federal Claims
                                       OFFICE OF SPECIAL MASTERS
                                                No. 13-566V
                                            Filed: April 8, 2016
                                              UNPUBLISHED
******************************
KATHLEEN SCHRAM,                                          *
                                                          *
                              Petitioner,                 *
                     v.                                   *
                                                          *         Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                                       *         Reasonable Amount to Which
AND HUMAN SERVICES,                                       *         Respondent Does Not Object
                                                          *
                              Respondent.                 *
                                                          *
*************************
Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Michael Milmoe, U.S. Department of Justice, Washington, DC, for respondent.


                            DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

        On August 9, 2013, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”).
Petitioner alleged that she suffered irritable bowel syndrome, fibromyalgia, myalgias, chronic
pain, dizziness, headaches, cognitive impairments, and chronic debilitating fatigue after
receiving a flu immunization. On April 7, 2016, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ stipulation (ECF No. 56).

      On March 21, 2016, petitioner filed an unopposed motion for attorneys’ fees and costs
(ECF No. 52).3 Petitioner requests attorneys’ fees in the amount of $25,152.61 and attorneys’
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the undersigned
intends to post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such material
from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).
3
    In the motion, petitioner states that respondent has no objection to petitioner’s request.
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costs in the amount of $6,347.39 for a total amount of $31,500.00. Id. at 1. In accordance with
General Order #9, petitioner’s counsel represents that petitioner incurred no out-of-pocket
expenses and agrees to indemnify petitioner for any out-of-pocket costs.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). I
have reviewed petitioner’s Application and find the amount requested reasonable. Based on the
reasonableness of petitioner’s request and the lack of opposition from respondent, the
undersigned GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $31,500.004 as a lump sum in the
form of a check jointly payable to petitioner and petitioner’s counsel, Edward Kraus.

         The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                               s/Mindy Michaels Roth
                                                               Mindy Michaels Roth
                                                               Special Master




4
  This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all charges by
the attorney against a client, “advanced costs” as well as fees for legal services rendered. Furthermore, § 15(e)(3)
prevents an attorney from charging or collecting fees (including costs) that would be in addition to the amount
awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir.1991).

5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice renouncing
the right to seek review.

                                                          2
